   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 1 of 8 PageID #:1754




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )           No. 18-cr-00797-1
       v.                                        )
                                                 )           Judge Andrea R. Wood
JAMES SAUNDERS                                   )

                          MEMORANDUM OPINION AND ORDER

       Defendant James Saunders is an inmate currently incarcerated at Oklahoma City FTC.

Like many federal prisons, Oklahoma City FTC currently houses numerous prisoners suffering

from COVID-19. Saunders suffers from several medical conditions that put him at high risk for

experiencing a severe illness should he contract COVID-19, including type 2 diabetes, chronic

bronchitis, and heart disease. Consequently, he has filed a motion for compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Dkt. No. 242.) For the reasons that follow, Saunders’s

motion is denied.

                                        BACKGROUND

       On September 4, 2019, Saunders pleaded guilty to one count of willfully engaging in the

business of dealing in firearms without a license, in violation of 18 U.S.C. § 922(a)(1)(A), and

one count of being a felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). (See

Dkt. Nos. 163, 164.) According to Saunders’s plea agreement, Saunders and two of his co-

Defendants illegally obtained firearms in Missouri and then transported those firearms to Illinois

and distributed them for profit to buyers in Chicago. (Plea Agreement ¶ 6, Dkt. No. 164.) Overall,

Saunders acknowledged his responsibility for five separate sales of firearms illegally transported

from Missouri. At no time was Saunders licensed as a firearms dealer. In addition, at all times that

Saunders possessed the firearms, he was aware of his status as a convicted felon.
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 2 of 8 PageID #:1755




       Following his guilty plea, Saunders was sentenced to serve 60 months’ imprisonment on

January 9, 2020. (Dkt. No. 213.) His projected release date is March 3, 2023. Including the time

Saunders spent in pretrial detention, he has served about 19 months of his sentence. Currently,

Saunders is incarcerated at Oklahoma City FTC, which is a federal transfer center. Saunders was

set to be transferred to a medical facility in Lexington, Kentucky, but that transfer was put on hold

due to the COVID-19 pandemic. At the time that Saunders filed his motion, there were 33 active

cases of COVID-19 among inmates at Oklahoma FTC.

       Saunders, who is 48 years old, claims that he has several medical conditions that put him

at risk of suffering serious complications from COVID-19. Specifically, Saunders points to his

type 2 diabetes, chronic bronchitis, history of blood clots, and diabetic neuropathy. Saunders also

suffers from heart disease and had a heart attack in 2016. Furthermore, Saunders’s medical

records reveal a hypertension diagnosis. (Def.’s Mot. for Compassionate Release, Ex. A at 38,

Dkt. No. 245.) The Centers for Disease Control and Prevention (“CDC”) lists type 2 diabetes,

chronic bronchitis, and serious heart conditions as conditions that increase a person’s risk for

severe illness from COVID-19. People Who Are at Increased Risk for Severe Illness: People with

Certain Medical Conditions, Ctrs. for Disease Control & Prevention,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last updated July 17, 2020). In addition, the CDC recognizes that hypertension

might put a person at increased risk for severe illness from COVID-19. Id. The CDC has not

spoken on whether blood clots or diabetic neuropathy heighten a person’s risk of severe illness.

Nonetheless, the Court does recognize that some COVID-19 patients experience blood-clotting

issues as a result of the virus. E.g., Ralph Ellis & Andrea Kane, Pathologist found blood clots in




                                                 2
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 3 of 8 PageID #:1756




‘almost every organ’ during autopsies on Covid-19 patients, CNN (July 10, 2020, 7:03 AM),

https://www.cnn.com/2020/07/10/health/what-coronavirus-autopsies-reveal/index.html.

                                           DISCUSSION

       Once a federal district court imposes a sentence, that sentence may not be modified except

in the narrow circumstances set forth in 18 U.S.C. § 3582(c). United States v. Townsend, 762 F.3d

641, 645 (7th Cir. 2014). Relevant here, under 18 U.S.C. § 3582(c)(1)(A)(i):


       [T]he court, upon motion of the director of the Bureau of Prisons, or upon motion
       of the defendant after the defendant has fully exhausted all administrative rights to
       appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s
       behalf or the lapse of 30 days from the receipt of such a request by the warden of
       the defendant’s facility, whichever is earlier, may reduce the term of imprisonment
       (and may impose a term of probation or supervised release with or without
       conditions that does not exceed the unserved portion of the original term of
       imprisonment), after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that—

       (i) extraordinary and compelling reasons warrant such a reduction . . . .

       This section reflects a recent amendment by the First Step Act, Pub. L. No. 115-391, 132

Stat. 5194 (2018), “to allow defendants to petition courts directly for compassionate release the

earlier of either fully exhausting” all administrative rights to appeal the Bureau of Prison’s

(“BOP”) failure to bring a motion for compassionate release on the defendant’s behalf or 30 days

after the facility warden has received a defendant’s request for compassionate release. United

States v. Reyes, No. 04 CR 970, 2020 WL 1663129, at *1 (N.D. Ill. Apr. 3, 2020). Prior to the

First Step Act, a defendant could not bring a motion for compassionate release himself but instead

had to rely on the BOP to bring such a motion on his behalf. United States v. Ebbers, No. (S4) 02-

CR-1144-3 (VEC), 2020 WL 91399, at *1 (S.D.N.Y. Jan. 8, 2020).




                                                  3
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 4 of 8 PageID #:1757




       I.      Administrative Exhaustion

       As an initial matter, the Government contends that Saunders has failed to satisfy

§ 3582(c)(1)(A)’s requirement that he either exhaust his available administrative remedies or wait

until 30 days after submitting his request to the warden before filing his motion. While Saunders

asserted in his original motion that he sent a request for home confinement to the warden at

Oklahoma FTC after his transfer there in March or April, he did not attach any evidence of such a

request. Furthermore, the Government denies that the warden ever received a request for

compassionate release from Saunders. With his reply, however, Saunders has attached two email

requests for compassionate release that he sent to the warden. Saunders’s counsel has taken

responsibility for failing to attach those requests to the original motion, as he had lost track of

them among other documents related to Saunders’s case. The Court has reviewed the two email

requests, dated April 19, 2020 and May 18, 2020. It concludes that Saunders unambiguously

requested that the warden grant him compassionate release due to the presence of COVID-19 at

the prison and his medical conditions. The Government has not given this Court any reason to

doubt the authenticity or sufficiency of those requests. And because each request was submitted at

least 30 days prior to Saunders filing the present motion, the Court finds that Saunders has

exhausted his administrative remedies.

       II.     Extraordinary and Compelling Reasons

       A sentence reduction under § 3582(c)(1)(A)(i) may only be granted when supported by

“extraordinary and compelling reasons.” The statute does not define what constitutes

“extraordinary and compelling reasons,” but instead states that the sentence must comply with

“applicable policy statements issued by the Sentencing Commission” and “directs the Sentencing

Commission to promulgate ‘the criteria to be applied and a list of specific’ extraordinary and




                                                  4
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 5 of 8 PageID #:1758




compelling examples.” United States v. Rodriguez, 424 F. Supp. 3d 674, 681 (N.D. Cal. 2019)

(quoting 18 U.S.C § 3582(c)(1)(A); 28 U.S.C. § 994(t)). Those criteria are set forth in United

States Sentencing Guidelines (“USSG” or “Guidelines”) § 1B1.13 and the Sentencing

Commission has limited “extraordinary and compelling reasons” to the four scenarios set forth in

the commentary. Id. “The specific circumstances broadly cover compassionate release[] based on

the defendant’s medical condition, age, and family circumstances.” United States v. Cardena, No.

09-CR-332-11, 2020 WL 2719643, at *3 (N.D. Ill. May 15, 2020).

       Here, the Government does not dispute that Saunders has demonstrated extraordinary and

compelling reasons for his release. Specifically, it agrees that Saunders’s type 2 diabetes

constitutes a “serious physical or medical condition . . . that substantially diminishes the ability of

the defendant to provide self-care within the environment of a correctional facility and from

which he or she is not expected to recover.” USSG § 1B1.13 n.1(A)(ii). This is because

Saunders’s “ability to provide self-care against serious injury or death as a result of COVID-19 is

substantially diminished within the environment of a correctional facility, by the medical

condition itself.” (Gov.’s Resp. to Mot. for Compassionate Release at 26, Dkt. No. 246.)

       The Court agrees with the Government that Saunders’s type 2 diabetes, chronic bronchitis,

heart disease, and hypertension—in conjunction with the presence of COVID-19 in Oklahoma

City FTC—present an extraordinary and compelling reason for his release. And while the CDC

has not spoken to whether a person’s history of blood clots heightens their risk of severe illness

from COVID-19, the Court finds that there is some evidence that it is a risk factor. Taken

together, these circumstances establish that Saunders’s current medical condition puts him at

serious risk of a bad outcome should he contract COVID-19. Given the presence of active

COVID-19 cases at Oklahoma City FTC, Saunders has shown that he faces a real risk of




                                                  5
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 6 of 8 PageID #:1759




contracting the virus. For that reason, the Court concludes that Saunders has established

extraordinary and compelling reasons for a reduction of his sentence.

       III.    Sentencing Factors Under § 3553(a)

       This Court’s finding that Saunders has presented an extraordinary and compelling reason

to reduce his sentence does not automatically mean that compassionate release is appropriate.

Rather, the Court must also consider whether the 18 U.S.C. § 3553(a) factors support the

requested sentence reduction. The Government contends that the balance of the § 3553(a) factors

weigh in favor of keeping Saunders incarcerated. The Court agrees.

       First, Saunders’s offense was extremely serious. Indeed, it would have been a serious

offense for a convicted felon such as Saunders just to possess a firearm. But making matters

worse, Saunders illegally sold several firearms to people he admittedly knew intended to use or

dispose of the weapons unlawfully. (Plea Agreement ¶ 6.) Such unlawful trafficking of firearms

substantially contributes to the frequent shootings and other crimes that occur across Chicago. See

City of Chicago, Office of the Mayor, Gun Trace Report 2017 at 8,

https://www.chicago.gov/content/dam/city/depts/mayor/Press%20Room/Press%20Releases/2017/

October/GTR2017.pdf (“[T]he majority of illegally used or possessed firearms recovered in

Chicago are traced back to states with less regulation over firearms . . . .”). Accordingly, at his

sentencing, the Court determined that Saunders’s unlawful conduct warranted a substantial 60-

month sentence. Yet, at this time, Saunders has served only 19 months of his sentence. Granting

Saunders such a substantial reduction of his sentence would not accurately reflect the gravity of

the crimes to which he pleaded guilty.

        In response, Saunders emphasizes the physical and emotional abuse he endured as a child

as well as his minimal prior criminal history, as he was found to be in criminal history category I




                                                  6
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 7 of 8 PageID #:1760




under the Guidelines, the lowest category. But the Court accounted for those factors when it

imposed a sentence below the Guidelines’ recommended range of 70 to 87 months’

imprisonment. The only thing that has changed since the Court issued its sentence is the COVID-

19 pandemic. “However, the COVID-19 pandemic does not warrant the release of every federal

prisoner with health conditions that makes him more susceptible to the disease.” United States v.

Collins, No. 14-cr-30038, 2020 WL 2301217, at *2 (C.D. Ill. May 8, 2020).

       The Court certainly does not mean to minimize the serious threat that Saunders faces from

the virus. At the same time, Saunders has not presented any evidence that the BOP is unable to

control the spread of the virus at Oklahoma City FTC. Indeed, at the time that Saunders filed his

motion, there were 33 active cases of COVID-19 among inmates at the prison. Since that time, the

number has reduced to 28 active cases. COVID-19 Coronavirus, Fed. Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last visited July 23, 2020). Nor does Saunders allege that the

conditions at Oklahoma City FTC make controlling the spread of the virus difficult or impossible.

       In sum, although the Court recognizes that Saunders’s medical conditions put him at risk

of severe illness should he contract COVID-19, the § 3553(a) factors do not support reducing his

sentence. For that reason, Saunders’s motion for compassionate release is denied. However, under

§ 3553(a)(2)(D), the Court is instructed to consider “the need for the sentence imposed . . . to

provide the defendant with needed . . . medical care . . . in the most effective manner.” In

recognition of Saunders’s medical issues, the Court recommends that the BOP transfer Saunders

to an appropriate medical facility. Indeed, at the time the Court sentenced Saunders, it

recommended that he be evaluated to determine whether designation to a BOP medical facility

would be appropriate. The COVID-19 pandemic reinforces the Court’s belief that placing

Saunders in a BOP medical facility is appropriate. Unfortunately, some risk of contracting the




                                                 7
   Case: 1:18-cr-00797 Document #: 252 Filed: 07/29/20 Page 8 of 8 PageID #:1761




virus is inescapable no matter where Saunders is imprisoned. However, the Court believes that a

medical facility will be better equipped to treat a person in Saunders’s condition should he

contract COVID-19. In his pro se motion, Saunders stated that he was in the process of being

transferred to a medical facility in Lexington, Kentucky, but his transfer was indefinitely placed

on hold due to the pandemic. Pursuant to 18 U.S.C. § 3621(b)(4)(B), the Court recommends that

the BOP move forward with transferring Saunders to a medical facility.

                                          CONCLUSION

          For the foregoing reasons, Saunders’s motion for compassionate release (Dkt. No. 242) is

denied.


                                                      ENTERED:



Dated: July 29, 2020                                  __________________________
                                                      Andrea R. Wood
                                                      United States District Judge




                                                 8
